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Attachment     Document Title
Exhibit A      Defendant’s Notice of Motion and Motion to Stay Proceedings Pending
               Multidistrict Litigation; Memorandum of Points and Authorities
Exhibit B      Plaintiffs’ Response in Opposition to Defendant’s Motion to Stay
               Proceedings
Exhibit C      Reply in Support of Defendant’s Motion to Stay Proceedings Pending
               Multidistrict Litigation
